      Case 18-50350       Doc 9   Filed 01/10/19   EOD 01/10/19 15:36:32      Pg 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

IN RE:                              )
                                    )
HUGH LAWRENCE BROOKS and            )
TAMMIE LATHERES SIMS-BROOKS         )
                                    )              CASE NO. 09-02012-jmc-11
                                    )
                  Debtors.          )
___________________________________ )
                                    )
HUGH LAWRENCE BROOKS,               )
                                    )                     Adv. Proc. No. 18-50350
                  Plaintiff,        )
                                    )
                          VS.       )
                                    )
AMERICAN EDUCATIONAL                )
SERVICES,                           )
                                    )
                  Defendant.        )



 NOTICE OF AGREED INITIAL EXTENSION OF TIME TO RESPOND TO COMPLAINT
            PURSUANT TO LOCAL BANKRUPTCY RULE B-7006-1



         Defendant, American Educational Services, by its counsel, files its Notice of Agreed

Initial Extension of Time to Respond to Complaint Pursuant to Local Bankruptcy Rule B-7006-

1 (“Notice”), providing an extension of time of twenty eight (28) days, from January 11, 2019

up to and including Friday, February 8, 2019, for it to respond to the Plaintiff, Hugh

Lawrence Brooks’ Complaint to Determine Dischargeability of Student Loan. As its Notice,

Defendant states as follows:




11951/044/00868531-2LMT
      Case 18-50350       Doc 9    Filed 01/10/19    EOD 01/10/19 15:36:32       Pg 2 of 3




        1.       On December 12, 2018, Plaintiff filed its Complaint to Determine

Dischargeability of Student Loan (“Complaint”).

        2.       Defendant’s Answer to Plaintiff’s Complaint is presently due January 11, 2019.

        3.       Defendant typically services loans for other loan holders.        Defendant is

attempting to locate documentation identifying the holder of Plaintiff’s loan that is the subject

of this lawsuit.

        4.       On January 9, 2019, Defendant, by counsel, requested Plaintiff’s counsel’s

consent to an extension of time of twenty eight (28) days. Plaintiff’s counsel stated he had no

objection.

        WHEREFORE, Defendant, American Educational Services, by counsel, pursuant to

Local Bankruptcy Rule B-7006-1 provides notice of an extension of time of twenty eight (28)

days, from January 11, 2019 up to and including Friday, February 8, 2019, for it to respond to

the Plaintiff, Hugh Lawrence Brooks’ Complaint to Determine Dischargeability of Student

Loan.

                                             Respectfully submitted,

                                             HALLER & COLVIN, P.C.
                                             444 EAST MAIN STREET
                                             FORT WAYNE, INDIANA 46802
                                             TELEPHONE: (260) 426-0444
                                             FAX: (260) 422-0274
                                             EMAIL: ltipton@hallercolvin.com

                                             BY: /s/ Lindsey M. Tipton
                                                LINDSEY M. TIPTON
                                                 I.D. #34229-02




11951/044/00868531-2LMT
                                                2
      Case 18-50350       Doc 9    Filed 01/10/19   EOD 01/10/19 15:36:32   Pg 3 of 3




                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the above and
foregoing Notice has been sent electronically by the Court’s electronic filing system, 10th
day of January, 2019, to:

U.S. Trustee
Eric C Redman


                                                    /s/ Lindsey M. Tipton
                                                    LINDSEY M. TIPTON




11951/044/00868531-2LMT
                                               3
